                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

TRACY E. HOLDER,                          )
                                          )
          Plaintiff,                      )      Civil Action No.: 2:10cv-0127
                                          )
v.                                        )      JUDGE HAYNES
                                          )
SMITH COUNTY, TENNESSEE,                  )      JURY DEMAND
and the SMITH COUNTY SHERIFF’S            )
DEPARTMENT,                               )
                                          )
          Defendant.                      )


                              NOTICE OF APPEARANCE


          Comes now Robyn Beale Williams, Farrar & Bates, LLP, 211 Seventh

Avenue North, Suite 500, Nashville, TN 37219, and enters her appearance as

counsel for Defendant, Smith County, Tennessee 1 , in the above styled cause of

action.



                                          Respectfully submitted,

                                          FARRAR & BATES, LLP



                                          /s/ Robyn Beale Williams_________
                                          Robyn Beale Williams, BPR #19736
                                          211 Seventh Avenue N., Suite 500
                                          Nashville, TN 37219
                                          (615) 254-3060
                                          Attorney for Defendant Smith County


1
 To the extent that this action is filed against the Smith County Sheriff’s
Department, the action is properly filed against the County alone.



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                             Certificate of Service

       The undersigned hereby certifies that on this, the 11th day of February,
2011, a true and correct copy of the foregoing has been forwarded via the court’s
electronic filing system to:

John L. Lowry, Esq.
1507 16th Avenue South
Nashville, TN 37212
Attorney for Plaintiff


                                         /s/ Robyn Beale Williams
                                         Robyn Beale Williams




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